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                     Exhibit A
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                                  ORDER NO. 3915-2017
                         APPOINTMENT OF SPECIAL COUNSEL
                 TO INVESTIGATE RUSSIAN INTERFERENCE WITH THE
                2016 PRESIDENTIAL ELECTION AND RELATED MATTERS

       By virtue of the authority vested in me as Acting Attorney General, including 28 U.S.C.
§§ 509, 510, and 515, in order to discharge my responsibility to provide supervision and
management of the Department of Justice, and to ensure a full and thorough investigation of the
Russian govemmenfs efforts to interfere in the 2016 presidential election, I hereby order as
follows:

(a)    Robert S. Mueller III is appointed t() serve as Specia] Counsel for the United States
Department of Justice.

(b)    The Special Counsel is authorized to conduct the investigation confinned by then-FBI
Director James 8. Corney in testimony before the House Permanent Select Committee on
Intelligence on March 20, 2017, including:

       (i)      any links and/or coordination bet ween the Russian government and individuals
                associated with the campaign of President Donald Trump; and

       (ii)     any matters that arose or may arise directly from the investigation; and

       (iii)    any other matters within the scope of 28 C.F.R. § 600.4(a).

(c)    If the Special Counsel believes it is necessary and appropriate, the Special Counsel is
authorized to prosecute federal crimes arising from the investigation of these matters.

(d)    Sections 600.4 through 600. l 0 of Title 28 of the Code of Federal Regulations are
applicable to the Special Counsel.




Date ' 
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